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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                                       CASE NUMBER:


                                                          2:15−cv−03660
                                        PLAINTIFF(S)

       v.
COUNTY OF LOS ANGELES , et al.

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                                     DEFENDANT(S).              ATTORNEY CASE OPENING




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